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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

DANYETTA WALKER and JOSEPH                     )
WALAWSKI, individually and on behalf           )
of all others similarly situated,              ) CLASS ACTION COMPLAINT
                                               )
                  Plaintiffs,                  )
             v.                                ) Case No. _________________
                                               )
CITY OF CHICAGO, a municipal corporation,      )
and UNITED ROAD TOWING, INC., a Delaware       ) JURY DEMAND
corporation,                                   )
                                               )
                  Defendants.                  )
______________________________________________ )


                                        COMPLAINT

       Plaintiffs Danyetta Walker and Joseph Walawski (collectively, “Plaintiffs”), individually

and on behalf of all others similarly situated, complain against Defendants City of Chicago (the

“City”) and United Road Towing, Inc. (“United Road Towing” or “URT”) (collectively,

“Defendants”) as follows:

                                        INTRODUCTION

       1.     In 2017, the City of Chicago towed 19,665 cars. 1 Every last one was parked legally.

No ticket was issued. They were all in good condition. None were abandoned, blocked traffic, or

otherwise posed a hazard to the public. They were involved in no crime and their drivers were not

arrested. These cars were all towed for just one reason: the City of Chicago wanted its money.




1
   Elliott Ramos, Chicago’s Towing Program is Broken, WBEZ NEWS (Apr. 1, 2019),
http://interactive.wbez.org/brokentowing/?_ga=2.182889636.302271072.1573669407-
690195108.1572997635.
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        2.      Of course the City tows far more than 19,665 cars each year. 2 These particular cars

were singled out because the owners of the vehicles owed ticket debt to the City. Under the

Municipal Code of Chicago (“Municipal Code” or “MCC”), as soon as a vehicle owner has two

tickets that are unpaid for more than a year, or three unpaid tickets at any time, that owner faces a

rapidly escalating campaign of debt collection waged by the City and its agencies. See MCC § 9-

100-120(b).

        3.      First, the City immobilizes or “boots” the car. See MCC § 9-100-120(b). The

owner of the vehicle then has 24 hours to pay all outstanding fines, penalties, boot fees,

administrative fees, attorney’s fees, and collection costs or the car will be towed and impounded.

See MCC § 9-92-080(b); 9-100-120(c), (d). 3 In a typical case involving three speed-camera

tickets, that cost is $832. 4 Most Chicagoans just cannot raise that kind of money in that little time.

        4.      If the debt is not paid, the car is towed and impounded. The fees accelerate: a $150

tow fee, a $20 per day storage fee for the first 5 days, and a daily $35 fee thereafter. See MCC §

9-92-080(b). Taking the example above and adding a tow and ten days of impoundment now




2
 In 2017, the total number of cars towed by the City was nearly 94,000. See Elliott Ramos, Takeaways
From Our Investigation Into Chicago’s Broken Towing Program, WBEZ NEWS (Mar. 31, 2019),
www.wbez.org/wbez-news/takeaways-from-our-investigation-into-chicagos-broken-towing-
program/21106328-2146-4f38-9938-7e25fc3b3b92.
3
 Under new legislation, the owner of vehicles towed after Sept. 19, 2019 may request additional time “as
provided in rules” before the tow. See MCC § 9-100-120(c) (eff. Sept. 18, 2019). The only extension
available, however, is an additional 24 hours. See Booted Vehicle Information,
https://www.chicago.gov/city/en/depts/fin/supp_info/revenue/boot_tow_information/booted_vehicle_info
rmation.html.
4
 The cost of each ticket at this point, including late payment penalty and collection costs, is typically $244
($244 x 3 = $732), plus a $100 boot fee. See MCC § 9-100-020(d) ($100 fine); MCC § 9-100-050(e)
(doubling fine if not paid in 25 days); Parking and Red Light Tickets Debt Relief Program FAQ’s,
www.chicago.gov/content/dam/city/depts/fin/supp_info/Revenue/Amnesty_FAQ_Parking_Red_Light.pdf
(describing typical $44 in collection costs per ticket); MCC § 9-100-120(g) ($100 immobilization fee).
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raises the cost to $1,257. Every cent must be repaid in order to recover the car. See MCC § 9-

100-120(d). 5

        5.      If the money isn’t paid, the City simply keeps the vehicle at which point the City

can add it to its own fleet of vehicles for its own use or convert it to cash by auctioning it off or

selling it for scrap. See MCC § 9-92-100(b)-(d). In the vast majority of cases, the City sells it for

scrap, usually for only a couple hundred dollars. See Ramos, Chicago’s Towing Program is

Broken, supra at n.1.

        6.      The City does not compensate an owner in any way when it takes a vehicle in this

manner. Even if it sells the vehicle, none of the proceeds are paid to the owner. Incredibly, the

City does not even off-set the owner’s debts by the amount of the sale. It simply takes it all for

itself and leaves the former owner’s debt as it is.

        7.      The end result is devastating: the owner loses a car – usually their most important

asset and only mode of transportation to get to work, school, etc. – and is left saddled not only

with the existing ticket debt, but also hefty towing and storage fees. Often times, like in the case

of Plaintiff Walawski, the owner also has a loan on the vehicle on which he is required to continue

to make monthly loan payments even though he no longer has the vehicle.

        8.      This basic story, played out thousands of times every year, is unfortunate and

unwise. It is also unconstitutional. The act of booting, towing, and selling a vehicle in order to

collect a public debt is a taking. Therefore, Plaintiffs, whose cars were taken from them by the

City because they owed it ticket debt, bring this suit to obtain the just compensation they are owed

under the Constitutions of the United States of America and the State of Illinois.


5
 Pursuant to the new legislation, the owner of a vehicle towed after Sept. 18, 2019 may apply for a payment
plan. But that just ratchets up the pressure. Failure to make all payments under the plan will result in
another tow (with new tow and storage fees) plus an additional $100 fine. See MCC § 9-100-160(b)(2)
(eff. Sept. 18, 2019).
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                                                PARTIES

        9.      Plaintiff Danyetta Walker (“Walker”) is an individual who resides in Cook County,

Illinois.

        10.     Plaintiff Joseph Walawski (“Walawski”) is an individual who resides in Cook

County, Illinois.

        11.     Defendant City of Chicago is an Illinois Municipal Corporation.

        12.     Defendant United Road Towing, Inc. (“United Road Towing” or “URT”) is a

Delaware corporation with its corporate offices located in Mokena, Illinois. URT provides towing

and auto pound management services throughout Chicago on behalf of the City.

                                      JURISDICTION AND VENUE

        13.     This Court has personal jurisdiction over the City because it resides, maintains

offices, and does business in this judicial district and because the actions undertaken by the City

giving rise to Plaintiffs’ claims arose in this district.

        14.     This Court has personal jurisdiction over URT because it resides, maintains offices,

and does business in this judicial district and because the actions undertaken by URT giving rise

to Plaintiffs’ claims arose in this district.

        15.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 in that certain of the claims alleged arise under the Constitution of the United States. This

Court has subject matter jurisdiction over all other claims pursuant to 28 U.S.C. § 1367 in that they

are so related to claims in the action within such original jurisdiction that they form part of the

same case or controversy under Article III of the United States Constitution.




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        16.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because the Defendants

reside, maintain offices, and do business in this judicial district and because the events giving rise

to Plaintiffs’ claims arose in this district.

                                       FACTUAL ALLEGATIONS

                                  The City’s Debt Collection Regime

        17.     Every day in Chicago, vehicles are towed because they are abandoned, block the

public way, or pose a hazard to the public. See, e.g., MCC § 9-92-030 (permitting inter alia the

tow of cars that are abandoned or illegally parked). Still more vehicles are towed because they

were used in the commission of a crime. See, e.g., MCC § 7-24-225 (drug sale using vehicle);

MCC § 7-24-225 (driving while intoxicated).

        18.     But the cars in this case were towed for a different reason. They were towed in

order to collect a civil debt.

        19.     In Chicago, alleged violations of the City’s parking, standing, compliance (i.e., City

sticker tickets), automated traffic law (i.e., red-light camera), and automated speed enforcement

(i.e., speed camera) ordinances are adjudicated by the City’s Department of Administrative

Hearings (“DOAH”). See MCC § 2-14-140.

        20.     If the owner of a vehicle admits to an alleged violation, fails to contest it, or contests

and loses, then DOAH enters a “final determination of liability” against the vehicle owner and

assesses fines and penalties. See MCC § 9-100-050 (providing that judgments are entered against

the vehicle owner rather than the person driving at the time of the alleged offense).

        21.     Under the Municipal Code, these fines and penalties “constitute a debt due and

owing the city[.]” MCC § 9-100-100(b).




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        22.     The City has used its unique status as a government to grant itself a suite of debt

collecting powers that that would make the most cynical private debt collector blush.

        23.     For example, the City has the power to suspend driver’s licenses of persons with

unpaid tickets. See MCC § 9-100-130. 6 It can garnish state income tax refunds. See 35 ILCS

5/911.3. The City will also deny, suspend, or revoke business licenses held by persons with unpaid

ticket debt. See MCC §§ 4-4-084; 4-4-150. The City also makes extensive use of traditional debt

collection agencies and bills its debtors for collection costs and attorney’s fees. See MCC §§ 1-

19-20; 1-19-030.

        24.     But the City’s most swift and certain debt collection tool is its power to boot, tow,

and keep vehicles owned by persons with ticket debt. Under § 9-100-120 of the Municipal Code,

the City has the power to boot, tow, and keep a vehicle whose owner has accumulated three unpaid

violations. See MCC § 9-100-120(b). The vehicle may also be taken if just two violations go

unpaid for more than a year. See id.

        25.     Prior to September of 2019, once the boot was applied, the vehicle owner had 24

hours to pay up or the vehicle would be towed. See MCC § 9-100-120(c). On September 20,

2019, the Mayor signed a new ordinance that allows motorists to seek “[a]dditional compliance

time, as provided in rules” to avoid the 24-hour tow. It appears that the only extension available

is one additional day. See supra, n. 3. Once the vehicle has been towed, the owner has 31 days to

pay the original underlying fines, fees, and collection costs, plus the additional boot fee, tow fee,

administrative fees, and storage fees or get on a City-approved payment plan. See MCC § 9-100-

120(f). Failing payment, the car is retained by the City and typically sold for scrap. Even with the


6
  A new state law will rein in the City’s power to suspend driver’s licenses for unpaid parking tickets, but
the City will keep its power to suspend licenses for unpaid red-light or speed camera tickets. See Pub. Act.
101-0623 (eff. July 1, 2020) (amending 625 ILCS 5/6-306.5). Nothing in this new legislation, however,
prohibits the City’s boot, tow, and scrap abuses set forth herein.
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new legislation, vehicle owners face the threat of the City’s boot, tow, scrap regime. That is

because as soon as a debtor misses one payment to the City, the debtor’s vehicle is once again

eligible to be booted, towed, and permanently confiscated. See MCC § 9-100-160(e).

       26.     The whole purpose of these “unpaid ticket tows” and the permanent dispossession

of vehicles that follows is to coerce vehicle owners into paying the debts they owe the City. If

they do not pay up, the City keeps their car for its own use or, in most cases, sells it for scrap.

       27.     The City pretends that its scheme of booting, towing, and scrapping vehicles for

unpaid tickets is “for the purpose of enforcing the parking, standing, compliance, automated traffic

law enforcement system, or automated speed enforcement system ordinances of the traffic code.”

See MCC § 9-100-120(a). But that is no more than empty rhetoric. In truth, the City’s unpaid

ticket tows have no law enforcement function.

       28.     After all, unpaid ticket tows only happen after the underlying tickets are fully

adjudicated, a “final determination of liability” has been entered, and fines and penalties have been

assessed. See MCC § 9-100-120(b).

       29.     In other words, unpaid ticket tows occur only after the underlying ordinances have

been fully and finally enforced. In the words of the City’s own Municipal Code, all that remains

after adjudication of these civil violations is a civil “debt due and owing the city[.]” See MCC §

9-100-100(b). Collecting on these debts – and ratcheting up the pressure on debtors – is the real

purpose of the City’s boot, tow, and scrap regime.

       30.     Tellingly, unpaid ticket tows are administered not by the Department of Streets and

Sanitation or the Chicago Police Department, but by the City Comptroller’s Department of

Finance. See MCC §§ 9-100-120 (granting authority to “traffic compliance administrator”); 9-




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100-010 (designating comptroller as traffic compliance administrator). That makes perfect sense

given that the whole purpose of this scheme is debt collection.

       31.     Having no law enforcement function, unpaid ticket tows have no public safety

purpose either. The most dangerous drivers will be unaffected by unpaid ticket tows, so long as

they pay their tickets on time. Even vehicles ticketed for faulty brakes (MCC § 9-76-010), no

headlights (MCC § 9-76-050), or missing rear-view mirrors (MCC § 9-76-120) are safe from the

tow truck so long as the City is paid on time.

       32.     Just as the City does not discriminate between safe and dangerous drivers, the City

does not limit unpaid ticket tows to vehicles that are hazardous, in disrepair, or otherwise

dangerous to public safety. Quite the contrary: the City regularly tows and scraps even late-model

luxury sedans and sports cars, indiscriminately turning valuable vehicles into hunks of scrap. See

Ramos, Chicago’s Towing Program is Broken, supra at n.1 (hundreds of BMW, Audi, and

Mercedes vehicles sold for scrap in 2017 alone). Indeed, Plaintiff Walawski’s vehicle was a 2016

Nissan Sentra that was less than two years old at the time it was towed and disposed of by the City

and on which he had an outstanding car loan of over $17,000.

       33.     In 2017, the City made it explicit that the purpose of unpaid ticket tows under MCC

§ 9-100-120 is to collect a public debt, not enforce the law. At that time, the City amended its

Municipal Code to state that “[a]ny vehicle immobilized by the City or its designee shall be subject

to a possessory lien in favor of the City in the amount required to obtain release of the vehicle.”

See MCC § 9-100-120(j).




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        34.     The reason for the change was simple: so many Chicagoans were going bankrupt

from ticket debt that – due to the automatic stay on debt collection that comes with declaring

bankruptcy – the City was frequently forced to release impounded vehicles before it could collect. 7

        35.     By enforcing liens on towed vehicles, the City reasoned, it would avoid the

automatic stay and keep cars until their owners paid up – bankruptcy or not. Indeed, the City

publicly declared that the amendment would close the bankruptcy “loophole” and stop the

“growing practice of individuals attempting to escape financial liability” and “avoid paying monies

due to the City[.]” Amend. Coun. J. June 28, 2017, p. 51164-51165. In other words, the change

would allow the City to go on using unpaid ticket tows as a tool to coerce debtors into repayment.

No mention was made of public safety or law enforcement. See generally id.

        36.     In sum, the City’s program of booting, towing, and scrapping cars for unpaid ticket

debt has no law enforcement function or public safety goal. Rather, the entire scheme twists the

City’s police powers into tools to further its own financial interests.

        37.     Vehicle owners who can not afford the City’s exorbitant fines, penalties, and

towing charges lose more than their car: they lose the ability to drive to work, school, medical

appointments, and religious services.         That is especially true for Chicagoans who live in

neighborhoods that are not well served by public transit.

        38.     With its many powers not available to private creditors, the City is a collections

juggernaut. The City collected an estimated $345 million in fines and penalties in 2018 alone. See


7
  See Melissa Sanchez and Sandhya Kambhampati, How Chicago Ticket Debt Sends Black Motorists Into
Bankruptcy, PROPUBLICA (Feb. 27, 2018), http://features.propublica.org/driven-into-debt/chicago-ticket-
debt-bankruptcy/ (reporting owners of towed cars declaring bankruptcy to, in part, get their cars back); see
also Paul Kiel and Hanna Fresques, Chicago’s Bankruptcy Boom, PROPUBLICA (Sept. 28, 2017),
http://www.propublica.org/article/chicagos-bankruptcy-boom (showing increase in bankruptcies due to
Chicago ticket debt); see also Paul Kiel and Hanna Fresques, Data Analysis: Bankruptcy and Race in
America, PROPUBLICA (Sept. 27, 2017), http://projects.propublica.org/graphics/bankruptcy-data-analysis
(“we found large amounts of traffic-related debt, mainly owed to the City of Chicago”).
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City of Chicago, 2019 Budget Overview 29 (2018). That amount constitutes a full 9 percent of

the City’s operating revenue. See id. The City’s revenue from the sale of scrapped vehicles is a

meaningful part of that total. In 2017 alone, the City made $4,072,339.51 by selling towed cars

for scrap.   See Ramos, Takeaways From Our Investigation Into Chicago’s Broken Towing

Program, supra at n.2. Adding revenue from boot and storage fees raises that total by at least $10

million more. See id. All of this money was deposited into the City’s “Corporate Fund” and used

to fund the City’s ongoing expenses.

                                  Takings and the Police Power

       39.     It is one thing for the City to tow and scrap a broken-down car left in the road. Like

tearing down an old building that has become a fire hazard, the City is permitted to seize and even

destroy property in the interest of public safety. These kinds of property seizures are not

considered constitutional takings. Instead, they are said to be exercises of the police power.

       40.     “Nowadays, insofar as the expression is used in constitutional law, the phrase

‘police power’ normally refers to the authority of the states for the promotion of public health,

public safety, public morals, and public welfare.” Santiago Legarre, The Historical Background

of the Police Power, 9 U. PA. J. CONST. L. 745, 794 (2007); see also Ass’n of Home Appliance

Manufacturers v. City of New York, 36 F. Supp. 3d 366, 372 (S.D.N.Y. 2014) (“To be a valid

exercise of police power, a municipal legislative act must bear a reasonable relationship to a

legitimate purpose within the City’s police powers – e.g., the promotion of the health, safety, well-

being or welfare of the community.”).

       41.     Being fundamentally a matter public policy, the police power is not a green light

for municipalities to enforce debts with the threat of property seizure. A municipality might be

permitted to seize property in order to satisfy a debt, but the municipality must still reduce or “set



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off” the debt by the value of the property seized. 8 But the City does not do that: it simply keeps

everything for itself.

        42.     Not coincidentally, the Seventh Circuit recently found that the City’s boot, tow,

scrap regime is more about collecting on a public debt than safety concerns. In In re Fulton, the

Seventh Circuit Court of Appeals heard an appeal from the bankruptcy court related to the City’s

“possessory lien” program described supra at ¶¶ 33-35. See In re Fulton, 926 F.3d 916 (7th Cir.

2019). The case concerned the City’s refusal to release vehicles seized for unpaid ticket debt when

a bankruptcy automatic stay required that release. See id. at 920. The City justified its refusal, in

part, on the police power. The Seventh Circuit disagreed:

        We are persuaded that, on balance, this is an exercise of revenue collection more
        than police power. As debtors observe, a not insignificant portion of the City’s
        annual operating fund comes from its collection of parking and traffic tickets.
        Moreover, the kind of violations the City enforces are not traditional police power
        regulations; these fines are for parking tickets, failure to display a City tax sticker,
        and minor moving violations. Even tickets for a suspended license, a seemingly
        more serious offense, are often the result of unpaid parking tickets and are thus not
        related to public safety. And the City impounds vehicles regardless of what
        violations the owner has accrued, without distinguishing between more serious
        violations that could affect public safety versus the mere failure to pay for parking.
        Most notably, the City imposes the monetary penalty on the owner of the vehicle,
        not the driver, which signals a seeming disconnect if the City actually has safety
        concerns about the offending driver. As the ordinance amending M.C.C. § 9-100-
        120 demonstrates, the City’s focus is on the financial liability of vehicle owners,
        not on public safety.



8
 Indeed, the Illinois Vehicle Code provides:

        With respect to any vehicle that has been booted, impounded, or both in accordance with
        subsection (c) of Section 11-208.3, a city with a population over 500,000 may establish a
        program whereby the registered owner, lienholder, or other legally entitled person is
        entitled to any proceeds from the disposition of the vehicle, less any reasonable storage
        charges, administrative fees, booting fees, towing fees, and parking and compliance fines
        and penalties.

625 ILCS 5/4-208. Despite the Illinois General Assembly’s acknowledgment that an owner should be
afforded compensation when the government confiscates his or her vehicle to satisfy ticket debt, the City
never adopted an ordinance or program entitling such compensation to the owner.
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Id. at 929 – 930 (internal citation omitted); see also In re Shannon, 590 B.R. 467, 492 (Bankr.

N.D. Ill. 2018), aff’d sub nom. In re Fulton, 926 F.3d 916 (7th Cir. 2019) (“Actions by governments

to collect debts generally do not fall within the police power….”).

       43.     In other words, taking and selling a person’s car simply because they owe ticket

debt bears no “reasonable relationship to a legitimate purpose within the City’s police powers –

e.g., the promotion of the health, safety, well-being or welfare of the community.” See Ass’n of

Home Appliance Manufacturers, 36 F. Supp. 3d at 372. It is just the act of a debt collector dressed

up as a municipality. It is the very definition of an unconstitutional taking.

                 The City’s Failure to Provide Proper Notice Prior to Disposal

       44.     The City’s towing program is not just unconstitutional. It also fails to comply with

state law. Incredibly, the City does not even follow its own municipal code for providing motorists

with notice that their vehicles have been towed.

       45.     In 2005, the Illinois legislature amended Section 4-208 of the Illinois Vehicle Code

to require municipalities having a population of more than 500,000 to provide owners of vehicles

that have been towed and impounded an additional and subsequent notice warning them that their

vehicles may be disposed of if they are not reclaimed. See 625 ILCS 5/4-208; see also 2005 Ill.

Legis. Serv. P.A. 94-650 (S.B. 501). This notice is in addition to the initial notice advising

individuals that that their vehicle has been impounded. Id.

       46.     This amendment was brought about as a result of towing abuses in the City of

Chicago. See Illinois House Transcript, 2005 Reg. Sess. No. 60 (referencing “unscrupulous towing

companies”, noting that the “Bill now only appl[ies] to the City of Chicago”, and that “what it first

does is gives a second notice to these cars that have been towed and changes the dates from 15 to

18”) (comments of Representatives Parke and Rita).



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       47.     Indeed, the law was specifically aimed at the City of Chicago. See Illinois Senate

Transcript, 2005 Reg. Sess. No. 29 (“We want to address the towing situation in the City of

Chicago to make it easier for someone who’s had their car towed, for whatever reason….”)

(comments of Senator Hendon). The General Assembly made clear that:

       [W]hatever’s established is not established under the basis of simply putting more
       money into the coffers of the City of Chicago budget but is compassionate towards
       the citizens of Chicago….
Illinois House Transcript, 2005 Reg. Sess. No. 60 (comments of Representative Parke); see also

id. (“It sets up a program for the City of Chicago. It mandates them to set up a program, give

second notices to cars that have been relocated.”) (comments of Representative Rita).

       48.     Unfortunately, this law did not stop the abuses. In fact, as noted above, the City

towed 93,857 vehicles in 2017 alone, of which 32,155 remained unclaimed.              See Ramos,

Takeaways From Our Investigation Into Chicago’s Broken Towing Program, supra at n.2.

       49.     The root of this problem can be traced in large part to the fact that, despite the

General Assembly amending the Illinois Vehicle Code in 2005 (effective January 1, 2016) to

afford greater protections for Chicago residents, the City failed to amend its own Municipal Code

to bring it into compliance with that law.

       50.     In fact, for more than a decade after the General Assembly amended Section 4-208

of the Illinois Vehicle Code, Section 9-92-100 of the Municipal Code continued to track the pre-

2006 version of that law. It was not until November 16, 2016, that the Municipal Code was

amended to include the protections the General Assembly mandated more than a decade earlier:

       Whenever an abandoned, lost, stolen, or other impounded motor vehicle, or a
       vehicle determined to be a hazardous dilapidated motor vehicle pursuant to Section
       11-40-3.1 of the Illinois Municipal Code, remains unclaimed by the registered
       owner, lienholder or other person legally entitled to possession for a period of 15
       18 days after notice has been given pursuant to Section 9-92-070 (a) or (b), if,
       during that 18-day period, the department of police or department of streets and
       sanitation has sent an additional notice by first class mail to the registered owner,

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       lienholder, or other legally entitled person, the superintendent of police or the
       commissioner of streets and sanitation shall authorize the disposal or other
       disposition of such unclaimed vehicles….

Coun. J. Nov. 16, 2016 at 38010; see also MCC § 9-92-100.

       51.     Thus, as of November 16, 2016, the Municipal Code requires a staggered notice

regime that serves two different purposes prior to the disposal of a vehicle. The first requirement

is found in MCC § 9-92-070, entitled “Notice to owner of impounded vehicle,” which directs the

City to send an initial notice advising an owner that her vehicle has been towed and impounded.

MCC § 9-92-070 (requiring the City to send a “notice of the impoundment” within ten days of the

tow). The second requirement is found in MCC § 9-92-100, entitled “Disposal of unclaimed

vehicles,” which directs the City to send a subsequent notice of impending disposal if the vehicle

remains unclaimed after the first notice is issued. MCC § 9-92-100(a) (requiring “additional

notice” within 18 days after the first notice).

       52.     Despite this belated change to the Municipal Code, which applies to all vehicles

regardless of age, the City still fails to provide motorists the required notice of impending vehicle

disposal as required by MCC § 9-92-100. In other words, the City is disposing of citizens’ vehicles

without telling them and then keeping the proceeds of the sale.

       53.     This is not an isolated incident, but rather is standard operating procedure by the

City. Specifically, the City’s issuance of such notices is done through an automated system. The

City’s internal processes provide only for the issuance of a post-tow “notice of vehicle

impoundment” pursuant to MCC § 9-92-070 (by both regular and certified mail for vehicles seven

years of age or newer and by regular mail only for vehicles that are older than seven years of age),

but does not provide for the issuance of the subsequent additional notice of impending vehicle




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disposal as required by MCC § 9-92-100. Thus, as a matter of practice, the City does not provide

the notice required by MCC § 9-92-100 prior to disposing of a vehicle.

                                       United Road Towing

       54.     This entire scheme could not work, of course, without the entity that actually tows

the vehicles: United Road Towing, “a private towing contractor long-tainted by scandals” that has

handled towing operations in Chicago for the past 30 years. Ramos, Chicago’s Towing Program

Is Broken, supra at n.1 (citing a number of scandals including, but not limited to, United Road

Towing “bilk[ing] the city for $1 million” and an FBI probe into “an interstate auto-theft ring”).

Despite its checkered past, in 2016 the City gave United Road Towing a $60 Million contract over

five years to handle such work.

       55.     In addition to the City paying United Road Towing a fee for each tow, if an owner

cannot afford to get his or her vehicle out of the pound or if it otherwise remains unclaimed, the

City will also sell the vehicle to United Road Towing at scrap value, which is usually less than

$200. In other words, at nominal cost, United Road Towing can take possession of the vehicles it

tows for the City even if they are worth thousands of dollars more than what it paid. See Ramos,

Chicago’s Towing Program Is Broken, supra at n.2 (“Chicago has long known that [if] it tows

enough cars that it can pay the towing company with some of them, potentially lowering overall

towing costs for the city.”) (noting that in 2017 alone the City’s tow contractor paid $4 Million to

take possession of 24,000 towed vehicles that had a value of more than $22 Million).

       56.     Thus, this entire regime – from the initial tow to the ultimate disposal of vehicles –

is carried out by United Road Towing at the behest of the City.




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                                The Taking of Plaintiffs’ Vehicles

       57.     On February 27, 2019, the City towed and impounded Plaintiff Walker’s vehicle, a

2000 Chrysler Concorde, pursuant to MCC § 9-100-120. The tow was handled and processed by

United Road Towing on behalf of the City. The City thereafter disposed of Plaintiff Walker’s

vehicle not by selling it for fair market value, but rather by selling it at scrap value to United Road

Towing. The City did not provide any compensation to Plaintiff Walker for the taking of her

vehicle, nor does it offer vehicle owners like her a hearing to determine fair compensation for the

taking of a vehicle pursuant to MCC § 9-100-120.

       58.     The City claims that it mailed Plaintiff Walker a post-tow “notice of vehicle

impoundment” on or about March 1, 2019, pursuant to MCC § 9-92-070. The City, however,

never mailed Plaintiff Walker the subsequent additional notice of impending vehicle disposal as

required by MCC § 9-92-100. Walker has since obtained a new vehicle, but continues to have

unpaid ticket debt on at least three violations.

       59.     On May 19, 2018, the City towed and impounded Plaintiff Walawski’s vehicle, a

2016 Nissan Sentra, pursuant to MCC § 9-100-120. The tow was handled and processed by United

Road Towing on behalf of the City. The City thereafter disposed of Plaintiff Walawski’s vehicle

not by selling it for fair market value, but rather by selling it at scrap value to United Road Towing.

In fact, even though Plaintiff Walawski’s vehicle was relatively new and in excellent condition,

the City sold the vehicle to United Road Towing for a mere $204.48. The City did not provide

any compensation to Plaintiff Walawski for the taking of his vehicle, nor does it offer vehicle

owners like him a hearing to determine fair compensation for the taking of a vehicle pursuant to

MCC § 9-100-120.




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       60.     The City claims that it mailed Plaintiff Walawski a post-tow “notice of vehicle

impoundment” on or about May 23, 2018 by regular and certified mail, pursuant to MCC § 9-92-

070. The City, however, never mailed Plaintiff the subsequent additional notice of impending

vehicle disposal as required by MCC § 9-92-100.

       61.     Plaintiff Walawski had a loan on his vehicle with PNC Bank. Since his vehicle was

taken from him by the City, PNC Bank has sought to collect over $17,000 in connection with that

loan. In other words, Plaintiff Walawski not only lost his vehicle, which he used to earn a living

as a delivery driver, but is also on the hook for over $17,000 in payments for a vehicle he no longer

owns. To make matters worse, the City has placed holds on business licenses sought by Plaintiff

Walawski due to outstanding ticket debt. Thus, the City has taken Plaintiff Walawski’s vehicle,

depriving him of his then-existing livelihood, and has since taken active steps to further deprive

him of employment opportunities, all for the unforgivable sin of failing to pay a ticket.

                                       CLASS ALLEGATIONS

       62.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Procedure

on behalf of a class of similarly situated individuals defined as follows:

       All vehicle owners who had their vehicle impounded and disposed of by the City
       of Chicago pursuant to MCC § 9-100-120 (the “Class”).

       63.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Procedure

on behalf of an additional class of similarly situated individuals defined as follows:

       All vehicle owners who had their vehicle towed by or through the Department of
       Streets and Sanitation pursuant to Chapter 9-92 of the Municipal Code of Chicago
       that were disposed of by the City (the “Notice Class”).

       64.     The number of class members is so large that joinder of all members is

impracticable. As noted above, in 2017 alone the City towed 19,665 vehicles for unpaid ticket




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debt. See Ramos, Chicago’s Towing Program is Broken, supra at n.2. The exact number of class

members can be determined from records maintained by Defendants.

       65.    Plaintiffs’ claims are typical of the claims of other class members as they were all

similarly affected by Defendants’ wrongful conduct as alleged herein

       66.    Common questions exist as to the Class that will predominate over questions, if

any, that solely affect individual class members. These common questions include:

       a.     Whether the procedures set forth in MCC § 9-100-120 authorizing the taking of
              vehicles for unpaid ticket debt without providing the vehicle owner with fair
              compensation, or even a hearing to determine fair compensation, violates the
              Takings Clause of the United States and Illinois Constitutions.

       b.     Whether URT acts under color of state law when it tows and takes possession of
              vehicles for unpaid ticket debt pursuant to MCC § 9-100-120.

       c.     Whether Plaintiffs and class members are entitled to an injunction preventing the
              City and URT from taking vehicles for unpaid ticket debt without providing the
              vehicle owner with fair compensation or a hearing to determine fair compensation.

       d.     Whether it was unjust for the City to retain payment for the sale of vehicles and/or
              any fines, penalties, and other amounts it received in connection with the towing
              and disposal of vehicles pursuant to an ordinance that is unconstitutional.

       e.     Whether it was unjust for URT to retain payment for the sale or resale of vehicles
              that were towed and disposed of pursuant to an ordinance that is unconstitutional.

       67.    Common questions exist as to the Notice Class that will predominate over

questions, if any, that solely affect individual class members. These common questions include:

       a.     Whether the City acted unlawfully and without legal authorization when it disposed
              of vehicles without sending the required subsequent notice of impending vehicle
              disposal as required by MCC § 9-92-100.

       b.     Whether Plaintiffs and class members are entitled to an injunction preventing the
              City from disposing of unclaimed vehicles without sending the subsequent notice
              of impending vehicle disposal as required by MCC § 9-92-100.




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       c.      Whether it was unjust for the City to retain payment for the sale of vehicles or other
               amounts it received when it disposed of them illegally and in violation of MCC §
               9-92-100.

       d.      Whether it was unjust for URT to retain payment for the sale or resale of vehicles
               that were disposed of illegally and in violation of MCC § 9-92-100.

       e.      Whether Plaintiff and class members are entitled to an order of mandamus requiring
               the City to send the subsequent notice of impending vehicle disposal as required by
               MCC § 9-92-100.

       f.      Whether the City’s practice of disposing of vehicles without sending the required
               subsequent notice of impending vehicle disposal as required by MCC § 9-92-100
               resulted in the taking of property without just compensation in violation of the
               United States and Illinois Constitutions.

       g.      Whether the City’s practice of disposing of vehicles without sending the required
               subsequent notice of impending vehicle disposal as required by MCC § 9-92-100
               resulted in an unreasonable seizure in violation of the United States and Illinois
               Constitutions.

       68.     Plaintiffs will fairly and adequately protect the interests of members of the class.

Plaintiffs have retained competent counsel experienced in class action litigation in state and federal

courts. Plaintiffs have no interest adverse to any class members. Plaintiffs intend to prosecute this

case vigorously on behalf of themselves and the class members.

       69.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy because it involves (i) the legality of an ordinance that applies

equally to Plaintiffs and all members of the Class, and (ii) the City’s practice of failing to send a

required notice that applies equally to Plaintiffs and all members of the Notice Class. Litigating

individual class members’ claims would produce a multiplicity of cases, congesting the judicial

system, and creating the potential for inconsistent or contradictory judgments. Class treatment, by

contrast, provides manageable judicial treatment calculated to bring a rapid conclusion to the




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litigation of all claims arising from Defendants’ misconduct. Class certification, therefore, is

appropriate under Rule 23(b)(3).

          70.   Class certification is also appropriate under Rule 23(b)(2) because Defendants have

acted, or refused to act, on grounds generally applicable to class members, thereby making final

injunctive relief or corresponding declaratory relief appropriate for the class.

                                         COUNT I
         Declaratory and Injunctive Relief – Taking Without Just Compensation
   (on behalf of the Class against Defendants City of Chicago and United Road Towing)

          71.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          72.   The United States Constitution provide that private property shall not be taken for

public use without just compensation. See U.S. CONST. amend. V.              The Illinois Constitution

similarly provides that private property shall not be taken or damaged for public use without just

compensation. See ILL. CONST. art. I, § 15.

          73.   As set forth above, MCC § 9-100-120 provides for the taking of citizen’s vehicles

for public use without providing any compensation to the owner or even a hearing to determine

fair compensation.     While confiscation of property will not be considered a taking if the

confiscation is a lawful exercise of that government’s police powers, the impoundment and

disposal of vehicles for unpaid ticket debt is not an exercise of police power. See In re Fulton,

926 F.3d 916 (7th Cir. 2019).

          74.   Plaintiffs’ vehicles were taken from them and disposed of by the City without

compensation pursuant to MCC § 9-100-120.

          75.   Accordingly, MCC § 9-100-120, on its face, violates the Takings Clause of the

United States and Illinois Constitutions.


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          WHEREFORE, Plaintiffs pray that the Court:

          A.    Certify this case as a class action, designate Plaintiffs as class representatives and

                appoint Plaintiffs’ counsel as class counsel;

          B.    Declare that the provisions of MCC § 9-100-120 authorizing the taking of vehicles

                without compensation or even a hearing to determine fair compensation violates

                the Takings Clause of the United States and Illinois Constitutions and is therefore

                void ab initio;

          C.    Grant preliminary and permanent injunctive relief preventing the City and URT

                from towing, impounding, and disposing of vehicles pursuant to MCC § 9-100-120;

          D.    Award Plaintiffs and members of the Class restitution in an amount to be

                determined herein, including pre- and post-judgment interest;

          E.    Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

          F.    Order such other and further relief as this Court deems equitable, just and proper.

                                        COUNT II
                   42 U.S.C. § 1983 – Taking Without Just Compensation
   (on behalf of the Class against Defendants City of Chicago and United Road Towing)

          76.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          77.   The City’s tow, impoundment, and disposal of vehicles without just compensation

is its well-settled custom or practice, which was ratified by policymakers for the City with final

policymaking authority.       Indeed, the unconstitutional actions alleged herein were taken in

connection with the implementation and enforcement of MCC § 9-100-120, an ordinance adopted

by its City Council. Thus, the conduct being challenged herein is the official policy of the City.


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Therefore, all City employees and agents were acting under color of law in carrying out this policy,

custom, or practice.

       78.     URT was also acting under color of state law because its actions set forth herein

are done at the behest of the City and pursuant to an ordinance designed to accomplish the City’s

purpose of collecting a public debt.

       79.     As a result of this policy, custom, or practice, the taking of Plaintiffs’ vehicles, as

well as the taking of the vehicles of all members of the Class, was unconstitutional.

       80.     The misconduct described herein was objectively unreasonable and undertaken

intentionally with deliberate indifference to the constitutional rights of Plaintiffs and members of

the Class. Alternatively, the misconduct described herein was undertaken intentionally, with

malice, and/or with reckless indifference to the constitutional rights of Plaintiffs and members of

the Class.

       81.     As a result of this policy, custom, or practice, the City and URT deprived Plaintiffs

and members of the Class of their constitutional rights to be free from having their property taken

without just compensation. As a direct and proximate cause of this deprivation of constitutional

rights, Plaintiffs and members of the Class suffered the loss of their vehicles and other damages.

       WHEREFORE, Plaintiffs pray that the Court:

       A.      Certify this case as a class action, designate Plaintiffs as class representatives and

               appoint Plaintiffs’ counsel as class counsel;

       B.      Award Plaintiffs and members of the Class restitution and damages in an amount

               to be determined herein, including pre- and post-judgment interest;

       C.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

               action; and



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          D.    Order such other and further relief as this Court deems equitable, just and proper.

                                           COUNT III
                                       Unjust Enrichment
                   (on behalf of the Class against Defendant City of Chicago)

          82.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          83.   The City has received payment for the sale of vehicles, as well as for fines,

penalties, and other amounts, in connection with the taking of vehicles pursuant to MCC § 9-100-

120. As set forth herein, this was illegal and unconstitutional.

          84.   Thus, the City has collected funds to which it was not entitled. The City knowingly

appreciated and accepted this benefit, which has resulted and continues to result in an inequity to

Plaintiffs and members of the Class.

          85.   The City has thus unjustly received and retained a benefit belonging to Plaintiffs

and members of the Class, who have therefore suffered a commensurate detriment.

          86.   The City’s retention of this benefit violates the fundamental principles of justice,

equity, and good conscience.

          WHEREFORE, Plaintiffs pray that the Court:

          A.    Certify this case as a class action, designate Plaintiffs as class representatives and

                appoint Plaintiffs’ counsel as class counsel;

          B.    Award Plaintiffs and members of the Class restitution in an amount to be

                determined herein, including pre- and post-judgment interest;

          C.    Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

          D.    Order such other and further relief as this Court deems equitable, just and proper.


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                                           COUNT IV
                                       Unjust Enrichment
                (on behalf of the Class against Defendant United Road Towing)

          87.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          88.   URT has received payment for the sale or resale of vehicles that were towed and

disposed of pursuant to an ordinance that is unconstitutional.

          89.   Thus, URT has collected funds to which it was not entitled. URT knowingly

appreciated and accepted this benefit, which has resulted and continues to result in an inequity to

Plaintiffs and members of the Class.

          90.   URT has thus unjustly received and retained a benefit belonging to Plaintiffs and

members of the Class, who have therefore suffered a commensurate detriment.

          91.   URT’s retention of this benefit violates the fundamental principles of justice,

equity, and good conscience.

          WHEREFORE, Plaintiffs pray that the Court:

          A.    Certify this case as a class action, designate Plaintiffs as class representatives and

                appoint Plaintiffs’ counsel as class counsel;

          B.    Award Plaintiffs and members of the Class restitution in an amount to be

                determined herein, including pre- and post-judgment interest;

          C.    Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

          D.    Order such other and further relief as this Court deems equitable, just and proper.




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                                           COUNT V
                               Declaratory and Injunctive Relief
                        (on behalf of the Notice Class against Defendants
                           City of Chicago and United Road Towing)

          92.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          93.   Plaintiffs seek a judgment declaring that the City and URT acted unlawfully and

without legal authorization when they disposed of vehicles pursuant to Chapter 92 of the MCC

without the required subsequent notice of impending vehicle disposal being sent to the vehicle

owner as required by MCC § 9-92-100.

          94.   Plaintiffs have a personal claim which is capable of being affected. As detailed

above, this case presents an actual controversy that requires an immediate and definitive

determination of the parties’ rights.

          WHEREFORE, Plaintiffs pray that the Court:

          A.    Certify this case as a class action, designate Plaintiffs as class representatives and

                appoint Plaintiffs’ counsel as class counsel;

          B.    Declare that the City and URT acted unlawfully and without legal authorization

                when it disposed of vehicles pursuant to Chapter 92 of the MCC without sending

                the required subsequent notice of impending vehicle disposal as required by MCC

                § 9-92-100;

          C.    Grant preliminary and permanent injunctive relief preventing the City and URT

                from disposing of unclaimed vehicles without sending the subsequent notice of

                impending vehicle disposal as required by MCC § 9-92-100;

          D.    Award Plaintiffs and members of the Notice Class restitution in an amount to be

                determined herein, including pre- and post-judgment interest;

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          E.    Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

          F.    Order such other and further relief as this Court deems equitable, just and proper.

                                           COUNT VI
                                        Unjust Enrichment
                (on behalf of the Notice Class against Defendant City of Chicago)

          95.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          96.   The City has received payment for the sale of vehicles and/or other amounts in

connection with the disposal of unclaimed vehicles without sending the subsequent notice of

impending vehicle disposal as required by MCC § 9-92-100. As set forth herein, this was illegal

and unconstitutional.

          97.   Thus, the City has collected funds to which it was not entitled. The City knowingly

appreciated and accepted this benefit, which has resulted and continues to result in an inequity to

Plaintiff and members of the Notice Class.

          98.   The City has thus unjustly received and retained a benefit belonging to Plaintiffs

and members of the Notice Class, who have therefore suffered a commensurate detriment.

          99.   The City’s retention of this benefit violates the fundamental principles of justice,

equity, and good conscience.

          WHEREFORE, Plaintiffs pray that the Court:

          A.    Certify this case as a class action, designate Plaintiffs as class representatives and

                appoint Plaintiffs’ counsel as class counsel;

          B.    Award Plaintiffs and members of the Notice Class restitution in an amount to be

                determined herein, including pre- and post-judgment interest;


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          C.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                  action; and

          D.      Order such other and further relief as this Court deems equitable, just and proper.

                                             COUNT VII
                                         Unjust Enrichment
               (on behalf of the Notice Class against Defendant United Road Towing)

          100.    Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          101.    URT has received payment for the sale or resale of vehicles that were towed and

disposed of where the vehicle owner was not sent the subsequent notice of impending vehicle

disposal as required by MCC § 9-92-100. As set forth herein, this was illegal and unconstitutional.

          102.    Thus, URT has collected funds to which it was not entitled. URT knowingly

appreciated and accepted this benefit, which has resulted and continues to result in an inequity to

Plaintiffs and members of the Notice Class.

          103.    URT has thus unjustly received and retained a benefit belonging to Plaintiffs and

members of the Notice Class, who have therefore suffered a commensurate detriment.

          104.    URT’s retention of this benefit violates the fundamental principles of justice,

equity, and good conscience.

          WHEREFORE, Plaintiffs pray that the Court:

          A.      Certify this case as a class action, designate Plaintiffs as class representatives and

                  appoint Plaintiffs’ counsel as class counsel;

          B.      Award Plaintiffs and members of the Notice Class restitution in an amount to be

                  determined herein, including pre- and post-judgment interest;

          C.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this


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                   action; and

          D.       Order such other and further relief as this Court deems equitable, just and proper.

                                            COUNT VIII
                              Mandamus on Behalf of the Notice Class
                  (on behalf of the Notice Class against Defendant City of Chicago)

          105.     Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          106.     MCC § 9-92-100 imposes a specific requirement on the City to send an additional,

subsequent notice of impending vehicle disposal prior to disposing of a vehicle towed and

impounded pursuant to Chapter 9-92 of the MCC. As set forth above, the City fails to follow this

law in contravention of their statutory responsibilities.

          WHEREFORE, Plaintiffs pray that the Court:

          A.       Certify this case as a class action, designate Plaintiffs as class representatives and

                   appoint Plaintiffs’ counsel as class counsel;

          B.       Enter a writ of mandamus directing the City to send an additional, subsequent

                   notice of impending vehicle disposal prior to disposing of a vehicle towed and

                   impounded pursuant to Chapter 9-92 of the MCC;

          C.       Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                   action; and

          D.       Order such other and further relief as this Court deems equitable, just and proper.

                                             COUNT IX
               Declaratory and Injunctive Relief – Taking Without Just Compensation
                          (on behalf of the Notice Class against Defendants
                             City of Chicago and United Road Towing)

          107.     Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

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       108.    The United States Constitution provide that private property shall not be taken for

public use without just compensation. See U.S. CONST. amend. V.             The Illinois Constitution

similarly provides that private property shall not be taken or damaged for public use without just

compensation. See ILL. CONST. art. I, § 15.

       109.    Confiscation of property by a unit of government will not be considered a taking if

the confiscation is a lawful exercise of that government’s police powers. See, e.g. Bennis v.

Michigan, 516 U.S. 442, 452 (1996) (compensation may not be required if property lawfully

acquired via means other than eminent domain).

       110.    Plaintiffs’ vehicles were not lawfully acquired. Instead, the City willfully flouted

the requirements of the MCC that control the disposal of impounded vehicles.

       111.    Because of the City’s willful failure, it was not lawfully authorized to dispose of

Plaintiffs’ vehicles. Nevertheless, the vehicles were sold and destroyed.

       112.    These actions by the City constituted an illegal and unconstitutional taking.

       WHEREFORE, Plaintiffs pray that the Court:

       A.      Certify this case as a class action, designate Plaintiffs as class representatives and

               appoint Plaintiffs’ counsel as class counsel;

       B.      Declare that the City’s and URT’s practice of unlawfully disposing of vehicles

               without providing proper notice as required by MCC § 9-92-100 constitutes an

               unlawful taking under the United States and Illinois Constitutions;

       C.      Grant preliminary and permanent injunctive relief preventing the City and URT

               from disposing of unclaimed vehicles without sending the additional notice of

               impending vehicle disposal as required by MCC § 9-92-100;

       D.      Award Plaintiff and members of the Notice Class restitution in an amount to be



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                 determined herein, including pre- and post-judgment interest;

          E.     Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                 action; and

          F.     Order such other and further relief as this Court deems equitable, just and proper.

                                           COUNT X
                     42 U.S.C. § 1983 – Taking Without Just Compensation
                        (on behalf of the Notice Class against Defendants
                           City of Chicago and United Road Towing)

          113.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          114.   The City’s failure to send the required subsequent notice of impending vehicle

disposal as required by MCC § 9-92-100 prior to disposing of unclaimed vehicles is the official

policy of the City’s Department of Streets and Sanitation and/or its well-settled custom or practice,

which was ratified by policymakers for the City with final policymaking authority. Therefore, all

City employees and agents were acting under color of law in carrying out this policy, custom, or

practice.

          115.   URT was also acting under color of state law because its actions set forth herein

are done at the behest of the City.

          116.   As a result of this policy, custom, or practice, the disposal of Plaintiffs’ vehicles,

as well as the disposal of the vehicles of all members of the Notice Class, was unlawful and

undertaken without any legal authorization.

          117.   The misconduct described herein was objectively unreasonable and undertaken

intentionally with deliberate indifference to the constitutional rights of Plaintiff and members of

the Notice Class. Alternatively, the misconduct described herein was undertaken intentionally,

with malice, and/or with reckless indifference to the constitutional rights of Plaintiffs and members

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of the Notice Class.

          118.   As a result of this policy, custom, or practice, the City and URT deprived Plaintiffs

and members of the Notice Class of their constitutional rights to be free from having their property

taken without just compensation.         As a direct and proximate cause of this deprivation of

constitutional rights, Plaintiffs and members of the Notice Class suffered the loss of their vehicles

and other damages.

          WHEREFORE, Plaintiff prays that the Court:

          A.     Certify this case as a class action, designate Plaintiffs as class representatives and

                 appoint Plaintiffs’ counsel as class counsel;

          B.     Award Plaintiffs and members of the Notice Class restitution and damages in an

                 amount to be determined herein, including pre- and post-judgment interest;

          C.     Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                 action; and

          D.     Order such other and further relief as this Court deems equitable, just and proper.

                                           COUNT XI
                    Declaratory and Injunctive Relief – Unreasonable Seizure
                        (on behalf of the Notice Class against Defendants
                           City of Chicago and United Road Towing)

          119.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          120.   The United States and Illinois Constitutions provide that people shall be free from

unreasonable seizures. See U.S. CONST. amend. IV; ILL. CONST. art. I, § 6.

          121.   The disposal of Plaintiffs’ vehicles was an unreasonable seizure because the City

willfully flouted the requirements of the MCC that control the disposal of impounded vehicles.



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          122.   Because of the City’s willful failure, it was not lawfully authorized to dispose of

the vehicle. Nevertheless, the vehicle was sold and destroyed.

          123.   These actions by the City constituted an unreasonable seizure.

          WHEREFORE, Plaintiffs pray that the Court:

          A.     Certify this case as a class action, designate Plaintiffs as class representative and

                 appoint Plaintiffs’ counsel as class counsel;

          B.     Declare that the City’s and URT’s practice of unlawfully disposing of vehicles

                 without providing proper notice as required by MCC § 9-92-100 constitutes an

                 unreasonable seizure in violation of the United States and Illinois Constitutions;

          C.     Grant preliminary and permanent injunctive relief preventing the City and URT

                 from disposing of unclaimed vehicles without sending the additional notice of

                 impending vehicle disposal as required by MCC § 9-92-100;

          D.     Award Plaintiffs and members of the Notice Class restitution in an amount to be

                 determined herein, including pre- and post-judgment interest;

          E.     Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                 action; and

          F.     Order such other and further relief as this Court deems equitable, just and proper.

                                            COUNT XII
                             42 U.S.C. § 1983 – Unreasonable Seizure
                         (on behalf of the Notice Class against Defendants
                            City of Chicago and United Road Towing)

          124.   Plaintiffs adopt and incorporate by reference all prior paragraphs as if fully set forth

herein.

          125.   The City’s failure to send the required additional notice of impending vehicle

disposal as required by MCC § 9-92-100 prior to disposing of unclaimed vehicles is the official

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policy of the City’s Department of Streets and Sanitation and/or its well-settled custom or practice,

which was ratified by policymakers for the City with final policymaking authority. Therefore, all

City employees and agents were acting under color of law in carrying out this policy, custom, or

practice.

       126.    URT was also acting under color of state law because its actions set forth herein

are done at the behest of the City

       127.    As a result of this policy, custom, or practice, the disposal of Plaintiffs’ vehicles,

as well as the disposal of the vehicles of all members of the Notice Class, was unlawful and

undertaken without any legal authorization.

       128.    The misconduct described herein was objectively unreasonable and undertaken

intentionally with deliberate indifference to the constitutional rights of Plaintiffs and members of

the Notice Class. Alternatively, the misconduct described herein was undertaken intentionally,

with malice, and/or with reckless indifference to the constitutional rights of Plaintiffs and members

of the Notice Class.

       129.    As a result of this policy, custom, or practice, the City deprived Plaintiffs and

members of the Notice Class of their constitutional rights to be free from unreasonable seizures.

As a direct and proximate cause of this deprivation of constitutional rights, Plaintiffs and members

of the Notice Class suffered the loss of their vehicles and other damages.

       WHEREFORE, Plaintiff prays that the Court:

       A.      Certify this case as a class action, designate Plaintiffs as class representatives and

               appoint Plaintiffs’ counsel as class counsel;

       B.      Award Plaintiffs and members of the Notice Class restitution and damages in an

               amount to be determined herein, including pre- and post-judgment interest;



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       C.     Grant an award of reasonable attorneys’ fees and all expenses and costs of this

              action; and

       D.     Order such other and further relief as this Court deems equitable, just and proper.

                                        JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues that may be tried and decided by jury.

Dated: February 25, 2020
                                                     Respectfully submitted,

                                                     By: ____/s/ Jacie C. Zolna__________
                                                         One of Plaintiffs’ Attorneys
Myron M. Cherry
mcherry@cherry-law.com
Jacie C. Zolna
jzolna@cherry-law.com
Benjamin R. Swetland
bswetland@cherry-law.com
Jeremiah Nixon
jnixon@cherry-law.com
Jessica C. Chavin
jchavin@cherry-law.com
MYRON M. CHERRY & ASSOCIATES LLC
30 North LaSalle Street, Suite 2300
Chicago, Illinois 60602
(312) 372-2100
Firm No. 39807
Attorneys for Plaintiffs and the Classes




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